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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        SouthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                            Ohio

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 2:22-mj-255
USPS Priority Mail parcel bearing tracking number 9505                       )
5125 9659 2096 6683 85, addressed to Jim Davis, 1209                         )
        Indiana St, Martins Ferry, OH 43935
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  USPS Priority Mail parcel bearing tracking number 9505 5125 9659 2096 6683 85, addressed to Jim Davis, 1209
  Indiana St, Martins Ferry, OH 43935
located in the         Southern        District of    Ohio, Eastern Division   , there is now concealed (identify the
person or describe the property to be seized):
 A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
 21, United States Code, Section 841(a)(1) and 843(b)

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        Title 21 USC 841(a)(1)                                     Possession with intent to distribute
                                                                      a controlled substance
        Title 21 USC 843(b)                       Prohibited use of a communication center (U.S. Mail)
          The application is based on these facts:
        As set forth in the attached Affidavit of Postal Inspector MARC KUDLEY

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                             MARC KUDLEY, U.S. Postal Inspector
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                                      (specify reliable electronic means).


Date:            04/08/2022
                                                                                                        Judge’s signature

City and state: Columbus, Ohio                                                        KIMBERLY A. JOLSON, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVSION


IN THE MATTER OF THE SEARCH OF:
                                                        2:22-mj-255
                                              Case No. ____________________
USPS Priority Mail parcels bearing tracking
number 9505 5125 9659 2096 6683 85 and        MAGISTRATE JUDGE
9505 5125 9659 2096 6683 92, addressed        Kimberly A. Jolson
to Jim Davis, 1209 Indiana St, Martins
Ferry, OH 43935

            Affidavit in Support of Application for Search Warrant


I, MARC A. KUDLEY, DO HEREBY DEPOSE AND SAY:

   1. I am a United States Postal Inspector and have been so employed since
      May 2012, presently assigned at the U.S. Postal Inspection Service
      (USPIS) Cleveland, Ohio Field Office to the Contraband Interdictions and
      Investigations Group, which strives to protect the U.S. Mail from dangerous
      drugs and illegal contraband, specifically illicit drugs and firearms. I have
      received training in the detection and investigation of drug trafficking. I
      have worked drug trafficking investigations involving the U.S. Mails since
      August 2012, during which time I have been involved in narcotics
      investigations leading to prosecution in U.S. District Court, as well as state
      courts.

   2. I know from my training and experience, and the training and experience of
      other Postal Inspectors, that the U.S. Mail is often used by drug traffickers
      to transport controlled substances as well as U.S. currency derived from
      their illicit activities, either as proceeds and/or payment. I know from my
      training and experience the Priority Mail system is commonly used to
      transport controlled substances and associated currency because Priority
      Mail provides traceability, reliability, and timely delivery. The guaranteed
      delivery timeframe of Priority Mail places time pressures on law
      enforcement agents to identify, search, and deliver these drug parcels in a
      timely manner.

   3. As a result of past investigations and prosecutions, the Postal Inspection
      Service has determined that a number of indicators can be used to identify
      packages containing contraband that have been entered into the Priority
      Mail network. Inspectors routinely review shipment documents and Priority
      Mail packages originating from or destined to drug source areas to identify
      instances where there is a possibility of drug trafficking.
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4. On or about April 7, 2022, Postal Inspectors identified U.S. Postal Service
   Priority Mail parcels bearing label numbers 9505 5125 9659 2096 6683 85
   and 9505 5125 9659 2096 6683 92, which are believed to contain
   narcotics, in violation of Title 21, United States Code, Sections 841(a)(1)
   (distribution and possession with intent to distribute a controlled substance)
   and 843(b) (illegal use of mail in furtherance of narcotics trafficking).
   Inspectors identified these two parcels as suspected drug parcels based on
   several characteristics, including but not limited to type of mail, origin,
   destination, label, postage, and size. Both parcels were addressed to Jim
   Davis, 1209 Indiana St, Martins Ferry, OH 43935, with a return address of
   James Davis 19260 Danbury Ave, Hesperia, CA 92392. The two parcels
   were mailed at the same time on April 6, 2022 from the Hesperia, California
   92345 Post Office.

5. The first parcel is described as USPS Priority Mail parcel bearing tracking
   number 9505 5125 9659 2096 6683 85, addressed to Jim Davis, 1209
   Indiana St, Martins Ferry, OH 43935, with a return address of James Davis,
   19260 Danbury Ave, Hesperia, CA 92392 (hereinafter “Subject Parcel 1”).
   Subject Parcel 1 is described as a white Priority Mail Large Mailing Box
   measuring approximately 12” X 12” X 8” in size and weighing
   approximately nine pounds and eleven ounces. Subject Parcel 1 bore
   $46.30 in U.S. Postage.

6. The second parcel is described as USPS Priority Mail parcel bearing
   tracking number 9505 5125 9659 2096 6683 92, addressed to Jim Davis,
   1209 Indiana St, Martins Ferry, OH 43935, with a return address of James
   Davis, 19260 Danbury Ave, Hesperia, CA 92392 (hereinafter “Subject
   Parcel 2”). Subject Parcel 2 is described as a white Priority Mail Large
   Mailing Box measuring approximately 12” X 12” X 8” in size and weighing
   approximately eleven pounds and one ounce. Subject Parcel 2 bore
   $54.50 in U.S. Postage.

7. I identified the Subject Parcels as suspect drug parcels based on several
   characteristics, including but not limited to type of mail, origin, destination,
   and size. I know based on training and experience that California has
   historically been a source area for mailed controlled substances into
   Southeastern Ohio.

8. I made inquiries with CLEAR, an electronic database that has proven
   reliable in previous investigations in determining the legitimacy of name,
   address, and phone number information concerning the delivery address of
   1209 Indiana St, Martins Ferry, OH 43935, and was unable to associate an
   individual with the name Jim Davis at the delivery address.

9. I also made inquiries with CLEAR concerning the return address of 19260
   Danbury Ave, Hesperia, CA 92392, and was unable to associate an
   individual with the name James Davis at the listed return address.
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10. I know based on training and experience that individuals using the U. S.
    Mail for the purpose of transporting controlled substances will often place
    fictitious address, name and/or phone number information, different
    variations of their names, initials, or no names at all on these parcels, to
    conceal their true identities from law enforcement should the parcel be
    seized.

11. On April 8, 2022, the Subject Parcels arrived at the Martins Ferry Post
    Office in Martins Ferry, Ohio. I contacted the Martins Ferry Post Office and
    requested the Subject Parcels be held pending further investigation. At
    your affiant’s direction, Detective Randy Stewart of the Belmont County
    Criminal Interdiction Unit took custody of the Subject Parcels at the Martins
    Ferry Post Office and transported them to the Belmont County Criminal
    Interdiction Unit office for further investigation.

12. On April 8, 2022 at the Belmont County Criminal Interdiction Unit office, the
    Subject Parcels were placed into a lineup containing several blank parcels
    which emanated no narcotics odors. Narcotic detection canine “Xyrem,”
    handled by Detective Dustin Hilderbrand of the Belmont County Sheriff’s
    Office was allowed to examine the lineup. According to Detective
    Hilderbrand, Xyrem gave a positive alert on each of the Subject Parcels but
    none of the blank parcels. According to Detective Hilderbrand, these
    positive alerts meant Xyrem detected the odor of an illegal drug emanating
    from the Subject Parcels.

13. Detective Hilderbrand has been State Certified as a Narcotics Canine
    handler and he and narcotics canine Xyrem have worked together for over
    three years. Detective Hilderbrand and canine Xyrem were both certified in
    July 2021 by the Ohio Peace Officer Training Commission as a Special
    Purpose Canine Unit for narcotic detection. During this time, Xyrem was
    trained and certified to alert to the presence of the odors from marijuana,
    cocaine, heroin, methamphetamine and their derivatives.            Detective
    Hilderbrand has been trained how to handle a detector canine and read
    their alerts. According to Detective Hilderbrand, Xyrem is a reliable canine
    assist unit.

14. I know based on training and experience that individuals who regularly
    handle controlled substances often leave the scent of controlled
    substances, which narcotic canines are trained to indicate alert, on the box,
    contents of the box, and/or other packaging material they handle.
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   15. Based on the information contained herein, your Affiant maintains there is
       probable cause to believe that USPS Priority Mail parcel bearing tracking
       number 9505 5125 9659 2096 6683 85, addressed to Jim Davis, 1209
       Indiana St, Martins Ferry, OH 43935, with a return address of James Davis,
       19260 Danbury Ave, Hesperia, CA 92392 and USPS Priority Mail parcel
       bearing tracking number 9505 5125 9659 2096 6683 92, addressed to Jim
       Davis, 1209 Indiana St, Martins Ferry, OH 43935, with a return address of
       James Davis, 19260 Danbury Ave, Hesperia, CA 92392, contain controlled
       substances, and/or proceeds which are evidence thereof, and/or
       contraband, in violation of Title 21, United States Code, Section 841(a)(1)
       and 843(b).




                                                    ____________________________
                                                    Marc Kudley
                                                    United States Postal Inspector



On April ___, 2022 this affidavit was sworn to by the affiant, who did no more than attest
to its contents pursuant to Crim. R. 4.1 (b)(2)(A), by telephone after a document was
transmitted by email, per Crim R. 4.1.



                                                       ___________________________
                                                       Kimberly A. Jolson
                                                       U.S. MAGISTRATE JUDGE
